USCA11 Case: 23-13085    Document: 130-2       Date Filed: 07/08/2024   Page: 1 of 47



                                  No. 23-13085


       In the United States Court of Appeals
              for the Eleventh Circuit
                        IN RE: GEORGIA SENATE BILL 202


                  BRIEF OF AMICUS CURIAE
               THE HONEST ELECTIONS PROJECT
          IN SUPPORT OF APPELLANTS AND REVERSAL


                           ON APPEAL FROM THE
                      UNITED STATES DISTRICT COURT
                  FOR THE NORTHERN DISTRICT OF GEORGIA
                            ATLANTA DIVISION
                                NO. 1:21-MI-55555-JPB




       JASON BRETT TORCHINSKY                     HOLTZMAN VOGEL
         EDWARD M. WENGER                        BARAN TORCHINSKY &
         ZACHARY D. HENSON                         JOSEFIAK PLLC

    jtorchinsky@holtzmanvogel.com                2300 N Street NW,
      zhenson@holtzmanvogel.com                      Suite 643A
     emwenger@holtzmanvogel.com                 Washington, DC 20037

       (202) 737-8808 (phone)                  (540) 341-8809 (facsimile)


                         Counsel for Amicus Curiae
                        the Honest Elections Project
USCA11 Case: 23-13085      Document: 130-2         Date Filed: 07/08/2024   Page: 2 of 47
                                                         In re: Georgia Senate Bill 202
                                                                    Case No. 23-13085

                CERTIFICATE OF INTERESTED PERSONS
                & CORPORATE DISCLOSURE STATEMENT

      Amicus Curiae the Honest Elections Project certifies that the following

is a complete list of interested persons as required by Federal Rule of Appellate

Procedure 26.1 and Eleventh Circuit Rule 26.1:

      1.     Abbott, Robert, Defendant;

      2.     Abudu, Honorable Nancy, Former Attorney for Plaintiff-

             Appellees;

      3.     ACLU Foundation of Georgia, Counsel for Plaintiff-Appellees;

      4.     ACLU Foundation of Georgia, Inc., Counsel for Plaintiff-

             Appellees;

      5.     Adegbile, Debo P., Counsel for Plaintiff-Appellees;

      6.     Aden, Leah, Counsel for Plaintiff-Appellees;

      7.     Advancement Project, Counsel for Plaintiff-Appellees;

      8.     Ameri, Mana, Counsel for Plaintiff-Appellees;

      9.     American Civil Liberties Union Foundation of Georgia, Counsel

             for Plaintiff-Appellees;

      10.    American Civil Liberties Union Foundation, Inc., Counsel for

             Plaintiffs- Appellees;

      11.    Andrews, Wanda, Defendant;



                                        C1 of 23
USCA11 Case: 23-13085    Document: 130-2       Date Filed: 07/08/2024   Page: 3 of 47
                                                     In re: Georgia Senate Bill 202
                                                                Case No. 23-13085

     12.   Aquino, Nora, Plaintiff-Appellee;

     13.   Asian Americans Advancing Justice-Asian Law Caucus,

           Counsel for Plaintiff-Appellees;

     14.   Asian Americans Advancing Justice-Atlanta, Plaintiff-Appellee;

     15.   Augusta Georgia Law Department, Counsel for Defendant;

     16.   Ausburn, Deborah, Counsel for State Defendant-Appellants;

     17.   Awuku, George, Defendant;

     18.   Banks, Marques, Counsel for Plaintiff-Appellees;

     19.   Banter, James, Counsel for Defendant;

     20.   Bao, Judy, Counsel for Plaintiff

     21.   Barkdull, Annika Boone, Counsel for State Defendant-

           Appellants;

     22.   Barnes, Sherry, Defendant;

     23.   Baron, Noah, Counsel for Plaintiffs

     24.   Barrett, James E., Counsel for State Defendant-Appellants;

     25.   Barron, Richard, Defendant;

     26.   Bartolomucci, H. Christopher, Counsel for State Defendant-

           Appellants;

     27.   Beausoleil, William, Counsel for Plaintiff-Appellees;

     28.   Beck Owen & Murray, Counsel for Defendant;


                                   C2 of 23
USCA11 Case: 23-13085    Document: 130-2      Date Filed: 07/08/2024   Page: 4 of 47
                                                    In re: Georgia Senate Bill 202
                                                               Case No. 23-13085

     29.   Betakes, Steven, Counsel for Intervenor-Defendants;

     30.   Belichick, Joseph, Counsel for Plaintiff-Appellees;

     31.   Bell, Jordan, Counsel for Defendant;

     32.   Bennette, Matlacha, Counsel for Plaintiff-Appellees;

     33.   Bergethon, Ross W., Counsel for State Defendant-Appellants

     34.   Black Voters Matter Fund, Plaintiff-Appellee;

     35.   Blender, Matthew, Defendant;

     36.   Bloodworth, Kristin, Counsel for Defendant;

     37.   Boulee, Honorable J. P., United States District Court Judge;

     38.   Bowman, Brad, Counsel for Defendant;

     39.   Boyle, Donald, Counsel for State Defendant-Appellants;

     40.   Broder, Karl, Counsel for Defendant;

     41.   Brooks, Jessica, Defendant;

     42.   Brooks, Sofia, Counsel for Plaintiff-Appellees;

     43.   Brown, Marcia, Defendant;

     44.   Bruning, Stephen, Defendant;

     45.   Bruning, Steven, Defendant;

     46.   Bryan, Bennett, Counsel for Defendant;

     47.   Burwell, Kaye, Counsel for Defendant;

     48.   Campbell-Harris, Dayton, Counsel for Plaintiff-Appellees;


                                   C3 of 23
USCA11 Case: 23-13085   Document: 130-2       Date Filed: 07/08/2024   Page: 5 of 47
                                                    In re: Georgia Senate Bill 202
                                                               Case No. 23-13085

     49.   Carr, Christopher M., Attorney General of the State of Georgia,

           Counsel for State Defendant-Appellants;

     50.   Carver, William, Counsel for Intervenor-Defendants;

     51.   Cathey, Thomas, Counsel for Defendant;

     52.   Chalmers, Adams, Backer & Kaufman, LLC, Counsel for

           Defendant;

     53.   Chatham County Attorney, Counsel for Defendant;

     54.   Chatham County Board of Elections, Defendant;

     55.   Chatham County Board of Registrars, Defendant;

     56.   Clarke County Board of Elections and Voter Registration,

           Defendant;

     57.   Clayton County Board of Elections and Registration, Defendant;

     58.   Cobb County Board of Elections and Registration, Defendant;

     59.   Cochran, Ken, Defendant;

     60.   Columbia County Board of Elections, Defendant;

     61.   Columbia County Board of Registrars, Defendant;

     62.   Common Cause, Plaintiff-Appellee;

     63.   Consovoy McCarthy PLLC, Counsel for Intervenor-Defendants;

     64.   Cramer, Raisa, Counsel for Plaintiff-Appellees;

     65.   Crawford, Teresa, Defendant;


                                   C4 of 23
USCA11 Case: 23-13085    Document: 130-2       Date Filed: 07/08/2024   Page: 6 of 47
                                                     In re: Georgia Senate Bill 202
                                                                Case No. 23-13085

     66.   Crowell & Moring, LLP, Counsel for Plaintiff-Appellees;

     67.   Cushman, Ann, Defendant;

     68.   Cusick, John, Counsel for Plaintiff-Appellees;

     69.   Dasgupta, Riddhi, Counsel for Defendant-Appellants;

     70.   Dave, Charles, Defendant;

     71.   Davenport, Jennifer, Counsel for Defendant;

     72.   Davis Wright Tremaine LLP, Counsel for Plaintiff-Appellees;

     73.   Davis, Britton, Counsel for Plaintiff-Appellees;

     74.   Day, Stephen, Defendant;

     75.   DeKalb County Board of Registrations and Elections, Defendant;

     76.   DeKalb County Law Department, Counsel for Defendant;

     77.   Delta Sigma Theta Sorority, Inc., Plaintiff-Appellee;

     78.   Denmark, Emilie, Counsel for Defendant;

     79.   Dentons US LLP, Counsel for Intervenor-Defendants;

     80.   Deshazior, Zurich, Defendant;

     81.   DeThomas, Courtney, Counsel for Plaintiff-Appellees;

     82.   Dianis, Judith, Counsel for Plaintiff-Appellees;

     83.   Dickey, Gilbert, Counsel for Intervenor-Defendants;

     84.   Dicks, Terence, Defendant;

     85.   Dimmick, Brian, Counsel for Plaintiff-Appellees;


                                    C5 of 23
USCA11 Case: 23-13085    Document: 130-2      Date Filed: 07/08/2024   Page: 7 of 47
                                                    In re: Georgia Senate Bill 202
                                                               Case No. 23-13085

     86.   DiStefano, Don, Defendant;

     87.   Doss, Travis, Defendant;

     88.   Dozier, Shauna, Defendant;

     89.   Drennon, Baxter, Counsel for Intervenor-Defendants;

     90.   Duffey, William, Jr., State Defendant-Appellant;

     91.   Duffie, Wanda, Defendant;

     92.   Durbin, Jauan, Plaintiff-Appellee;

     93.   Durso, Katherine, Defendant;

     94.   Edwards, Gregory, District Attorney for Dougherty County, State

           Defendant-Appellant;

     95.   Elias Law Group LLP, Counsel for Plaintiff-Appellees;

     96.   Ellington, Thomas, Defendant;

     97.   Enjeti-Sydow, Anjali, Plaintiff-Appellee;

     98.   Evans-Daniel, Karen, Defendant;

     99.   Evans, James, Counsel for Defendant;

     100. Evans, Rachel, Counsel for Plaintiff-Appellees;

     101. Eveler, Janine, Defendant;

     102. Falk, Donald M., Counsel for State Defendant-Appellants;

     103. Fambrough, Willa, Defendant;

     104. Faransso, Tania, Counsel for Plaintiff-Appellees;


                                   C6 of 23
USCA11 Case: 23-13085    Document: 130-2      Date Filed: 07/08/2024   Page: 8 of 47
                                                    In re: Georgia Senate Bill 202
                                                               Case No. 23-13085

     105. Farrell, Gregory, Counsel for Plaintiff-Appellees;

     106. Feldsherov, Ilya, Counsel for Plaintiff-Appellees;

     107. Fenwick & West, LLP, Counsel for Plaintiff-Appellees;

     108. Field, Brian J., Counsel for State Defendant-Appellants;

     109. First Congregational Church, United Church of Christ

     110. Incorporated, Plaintiff-Appellee;

     111. Fogelson, Matthew, Counsel for Plaintiff-Appellees;

     112. Forsyth County Board of Voter Registrations and Elections,

           Defendant;

     113. Fortier, Lucas, Counsel for Plaintiff-Appellees;

     114. Foster, Mikayla, Counsel for Plaintiff-Appellees;

     115. Freeman Mathis & Gary, LLP, Counsel for Defendant;

     116. Fulton County Attorney’s Office, Counsel for Defendant;

     117. Fulton County Registration and Elections Board, Defendant;

     118. Galeo Latino Community Development Fund, Inc., Plaintiff-

           Appellee;

     119. Gammage, Keith, Defendant;

     120. Garabadu, Rahul, Counsel for Plaintiff-Appellees;

     121. Gartland, Pat, Defendant;

     122. Gay, Nancy, Defendant;


                                   C7 of 23
USCA11 Case: 23-13085    Document: 130-2      Date Filed: 07/08/2024   Page: 9 of 47
                                                    In re: Georgia Senate Bill 202
                                                               Case No. 23-13085

     123. Geiger, Debra, Defendant;

     124. Georgia Adapt, Plaintiff-Appellee;

     125. Georgia Advocacy Office, Plaintiff-Appellee;

     126. Georgia Coalition for the People’s Agenda, Inc., Plaintiff-

           Appellee;

     127. Georgia Department of Law, Counsel for State Defendant-

           Appellants;

     128. Georgia Latino Alliance for Human Rights, Inc., Plaintiff-

           Appellee;

     129. Georgia Muslim Voter Project, Plaintiff-Appellee;

     130. Georgia Republican Party, Inc., Intervenor-Defendant;

     131. Georgia State Conference of the NAACP, Plaintiff-Appellee;

     132. Georgia State Election Board, Defendant;

     133. Ghazal, Sara, State Defendant-Appellant;

     134. Gibbs, Fannie, Plaintiff-Appellee;

     135. Gillon, Thomas, Defendant;

     136. Givens, Diane, Defendant;

     137. Gossett, David, Counsel for Plaintiff-Appellees;

     138. Green, Tyler, Counsel for Intervenor-Defendants;

     139. Greenbaum, Jon, Counsel for Plaintiff-Appellees;


                                   C8 of 23
USCA11 Case: 23-13085    Document: 130-2    Date Filed: 07/08/2024   Page: 10 of 47
                                                    In re: Georgia Senate Bill 202
                                                               Case No. 23-13085

      140. Greenberg Traurig, LLP, Counsel for Defendant;

      141. Groves, Angela, Counsel for Plaintiff-Appellees;

      142. Gwinnett County Board of Registrations and Elections,

            Defendant;

      143. Gwinnett County Department of Law, Counsel for Defendant;

      144. Hall Booth Smith, P.C., Counsel for Intervenor-Defendants;

      145. Hall County Board of Elections and Registration, Defendant;

      146. Hall County Government, Counsel for Defendant;

      147. Hall, Dorothy, Defendant;

      148. Hall, John, Counsel for Intervenor-Defendants;

      149. Hamilton, Brittni, Counsel for Plaintiff-Appellees;

      150. Hancock, Jack, Counsel for Defendant;

      151. Hart, Ralph, Counsel for Defendant;

      152. Hart, Twyla, Defendant;

      153. Hasselberg, Emily, Counsel for Plaintiff-Appellees;

      154. Hayes, Vilia, Counsel for Plaintiff-Appellees;

      155. Haynie, Litchfield & White, PC, Counsel for Defendant;

      156. Hazard, Joel, Defendant;

      157. Heard, Bradley, Counsel for Plaintiff-Appellees;

      158. Heckmann, Elizabeth A., Counsel for Plaintiffs


                                     C9 of 23
USCA11 Case: 23-13085     Document: 130-2    Date Filed: 07/08/2024   Page: 11 of 47
                                                     In re: Georgia Senate Bill 202
                                                                Case No. 23-13085

      159. Heimes, Marianne, Defendant;

      160. Henseler, James, Counsel for Plaintiff-Appellees;

      161. Herren, Thomas, Counsel for Plaintiff-Appellees;

      162. Hiatt, Alexandra, Counsel for Plaintiff-Appellees;

      163. Ho, Dale, Counsel for Plaintiff-Appellees;

      164. Hodge, Malinda, Defendant;

      165. Houk, Julie, Counsel for Plaintiff-Appellees;

      166. Hoyos, Luis, Counsel for Plaintiff-Appellees;

      167. Hughes Hubbard & Reed, LLP, Counsel for Plaintiff-Appellees;

      168. Hughes, Aileen, Counsel for Plaintiff-Appellees;

      169. Hull Barrett, PC, Counsel for Defendant;

      170. Ingram, Randy, Defendant;

      171. Jacoutot, Bryan, Counsel for State Defendant-Appellants;

      172. Jaffe, Erik S., Counsel for State Defendant-Appellants;

      173. Jahangiri, Mahroh, Counsel for Plaintiff-Appellees;

      174. Jaikumar, Arjun, Counsel for Plaintiff-Appellees;

      175. James Bates Brannan Groover LLP, Counsel for Defendant;

      176. Jarrard & Davis, LLP, Counsel for Defendant;

      177. Jasrasaria, Jyoti, Counsel for Plaintiff-Appellees;

      178. Jaugstetter, Patrick, Counsel for Defendant;


                                    C10 of 23
USCA11 Case: 23-13085    Document: 130-2     Date Filed: 07/08/2024   Page: 12 of 47
                                                    In re: Georgia Senate Bill 202
                                                               Case No. 23-13085

      179. Jedreski, Matthew, Counsel for Plaintiff-Appellees;

      180. Jester, Alfred, Defendant;

      181. Jester, Nancy, Defendant;

      182. Jhaveri, Sejal, Counsel for Plaintiff-Appellees;

      183. Johnson, Aaron, Defendant;

      184. Johnson, Ben, Defendant;

      185. Johnson, Darlene, Defendant;

      186. Johnson, Melinda, Counsel for Plaintiff-Appellees;

      187. Johnston, Janice W., State Defendant-Appellant;

      188. Joiner, Amelia, Counsel for Defendant;

      189. Kanu, Nkechi, Counsel for Plaintiff-Appellees;

      190. Kaplan, Mike, Defendant;

      191. Kastorf Law, LLC, Counsel for Plaintiff-Appellees;

      192. Kastorf, Kurt, Counsel for Plaintiff-Appellees;

      193. Kaufman, Alex, Counsel for Intervenor-Defendants;

      194. Keker Van Nest & Peters LLP, Counsel for Plaintiff-Appellees;

      195. Kemp, Brian, Governor of the State of Georgia, State Defendant-

            Appellant;

      196. Kennedy, David, Defendant;

      197. Kennedy, Kate, Counsel for Plaintiff-Appellees;


                                    C11 of 23
USCA11 Case: 23-13085    Document: 130-2    Date Filed: 07/08/2024   Page: 13 of 47
                                                    In re: Georgia Senate Bill 202
                                                               Case No. 23-13085

      198. Keogh, William, Counsel for Defendant;

      199. Khan, Sabrina, Counsel for Plaintiff-Appellees;

      200. Kim, Danielle, Counsel for Plaintiff-Appellees;

      201. Kingsolver, Justin, Counsel for Plaintiff-Appellees;

      202. Klein, Spencer, Counsel for Plaintiff-Appellees;

      203. Knapp, Halsey, Counsel for Plaintiff-Appellees;

      204. Koorji, Alaizah, Counsel for Plaintiff-Appellees;

      205. Krevolin & Horst, LLC, Counsel for Plaintiff-Appellees;

      206. Kucharz, Kevin, Counsel for Defendant;

      207. Lakin, Sophia, Counsel for Plaintiff-Appellees;

      208. Lam, Leo, Counsel for Plaintiff-Appellees;

      209. Lang, Antan, Defendant;

      210. LaRoss, Diane, Counsel for State Defendant-Appellants;

      211. Latino Community Fund of Georgia, Plaintiff-Appellee;

      212. Lauridsen, Adam, Counsel for Plaintiff-Appellees;

      213. Lawhon, Justin R., Counsel for Defendant

      214. Law Office of Bryan L. Sells, LLC, Counsel for Plaintiff-

            Appellees;

      215. Law Office of Gerald R Weber, LLC, Counsel for Plaintiffs-

            Appellees;


                                   C12 of 23
USCA11 Case: 23-13085    Document: 130-2    Date Filed: 07/08/2024   Page: 14 of 47
                                                   In re: Georgia Senate Bill 202
                                                              Case No. 23-13085

      216. Law Office of Heather Szilagyi, Counsel for Plaintiff-Appellees;

      217. Lawyers’ Committee for Civil Rights Under Law, Counsel for

            Plaintiffs-Appellees;

      218. Le, Anh, Former Defendant;

      219. League of Women Voters of Georgia, Inc., Plaintiff-Appellee;

      220. Leung, Kimberly, Counsel for Plaintiff-Appellees;

      221. Lewis, Anthony, Defendant;

      222. Lewis, Joyce, Counsel for Plaintiff-Appellees;

      223. Lin, Stephanie, Counsel for Plaintiff-Appellees;

      224. Lindsey, Edward, State Defendant-Appellant;

      225. Lower Muskogee Creek Tribe, Plaintiff-Appellee;

      226. Lowman, David, Counsel for Defendant;

      227. Ludwig, Jordan, Counsel for Plaintiff-Appellees;

      228. Luth, Barbara, Defendant;

      229. Ma, Eileen, Counsel for Plaintiff-Appellees;

      230. Mack, Rachel, Counsel for Defendant;

      231. Macon-Bibb County Board of Elections, Defendant;

      232. Mahoney, Thomas, Defendant;

      233. Manifold, Zach, Defendant;

      234. Martin, Grace Simms, Counsel for Defendants;


                                    C13 of 23
USCA11 Case: 23-13085    Document: 130-2    Date Filed: 07/08/2024   Page: 15 of 47
                                                   In re: Georgia Senate Bill 202
                                                              Case No. 23-13085

      235. Mashburn, Matthew, State Defendant-Appellant;

      236. May, Caitlin, Counsel for Plaintiff-Appellees;

      237. Maynard, Darius, Former Defendant;

      238. McAdams, Issac, Defendant;

      239. McCandless, Spencer, Counsel for Plaintiff-Appellees;

      240. McCarthy, Thomas, Counsel for Intervenor-Defendants;

      241. McClain, Roy, Defendant;

      242. McCord, Catherine, Counsel for Plaintiff-Appellees;

      243. McFalls, Tim, Defendant;

      244. McFarland, Ernest, Counsel for Plaintiff-Appellees;

      245. McGowan, Charlene, Counsel for State Defendant-Appellants;

      246. Mcrae, Colin, Defendant;

      247. Melcher, Molly, Counsel for Plaintiff-Appellees;

      248. Metropolitan Atlanta Baptist Ministers Union, Inc., Plaintiff-

            Appellee;

      249. Miller, Nicholas, Counsel for State Defendant-Appellants;

      250. Milord, Sandy, Counsel for Defendant;

      251. Minnis, Terry, Counsel for Plaintiff-Appellees;

      252. Mizner, Susan, Counsel for Plaintiff-Appellees;

      253. Mocine-McQueen, Marcos, Counsel for Plaintiff-Appellees;


                                   C14 of 23
USCA11 Case: 23-13085     Document: 130-2     Date Filed: 07/08/2024   Page: 16 of 47
                                                     In re: Georgia Senate Bill 202
                                                                Case No. 23-13085

      254. Momo, Shelley, Counsel for Defendant;

      255. Morrison, Tina, Counsel for Plaintiff-Appellees;

      256. Mosbacher, Jennifer, Defendant;

      257. Motter, Susan, Defendant;

      258. Murchie, Laura, Counsel for Plaintiff-Appellees;

      259. Murray, Karen, Defendant;

      260. NAACP Legal Defense and Education Fund, Inc., Counsel for

            Plaintiff-Appellees;

      261. National Republican Congressional Committee, Intervenor-

            Defendant;

      262. National      Republican    Senatorial   Committee,     Intervenor-

            Defendant;

      263. Natt, Joel, Defendant;

      264. Nemeth, Miriam, Counsel for Plaintiff-Appellees;

      265. Nercessian, Armen, Counsel for Plaintiff-Appellees;

      266. Newland, James, Defendant;

      267. Nguyen, Candice, Counsel for Plaintiff-Appellees;

      268. Nguyen, Phi, Counsel for Plaintiff-Appellees;

      269. Nkwonta, Uzoma, Counsel for Plaintiff-Appellees;

      270. Noa, Jack, Defendant;


                                      C15 of 23
USCA11 Case: 23-13085    Document: 130-2       Date Filed: 07/08/2024   Page: 17 of 47
                                                      In re: Georgia Senate Bill 202
                                                                 Case No. 23-13085

      271. Noland Law Firm, LLC, Counsel for Defendants;

      272. Noland, William H., Counsel for Defendants;

      273. Norris, Cameron, Counsel for Intervenor-Defendants;

      274. Norse, William, Defendant;

      275. Nwachukwu, Jennifer, Counsel for Plaintiff-Appellees;

      276. O’Brien, James, Defendant;

      277. O’Connor, Eileen, Counsel for Plaintiff-Appellees;

      278. O’Lenick, Alice, Defendant;

      279. Olm, Rylee, Counsel for Plaintiff-Appellees;

      280. Oxford, Neil, Counsel for Plaintiff-Appellees;

      281. Paik, Steven, Plaintiff-Appellee;

      282. Pant, Shontee, Counsel for Plaintiff-Appellees;

      283. Paradise, Loree, Counsel for State Defendant-Appellants;

      284. Parker, Warrington, Counsel for Plaintiff-Appellees;

      285. Pelletier, Susan, Counsel for Plaintiff-Appellees;

      286. Petrany, Stephen J., Counsel for State Defendant-Appellants

      287. Porter, Megan, Counsel for Plaintiff-Appellees;

      288. Powell, Laura, Counsel for Plaintiff-Appellees;

      289. Prince, Joshua, Counsel for State Defendant-Appellants;

      290. Pulgram, Laurence, Counsel for Plaintiff-Appellees;


                                    C16 of 23
USCA11 Case: 23-13085     Document: 130-2    Date Filed: 07/08/2024   Page: 18 of 47
                                                     In re: Georgia Senate Bill 202
                                                                Case No. 23-13085

      291. Pullar, Patricia, Defendant;

      292. Qadir, Hunaid, Defendant;

      293. Radzikinas, Carla, Defendant;

      294. Raffensperger, Brad, Secretary of State of Georgia, State

            Defendant-Appellant;

      295. Raffle, Rocky, Defendant;

      296. Ramahi, Zainab, Counsel for Plaintiff-Appellees;

      297. Remlinger, Brian, Counsel for Plaintiff

      298. Rich, James, Counsel for Plaintiff-Appellees;

      299. Richardson, Jasmyn, Counsel for Plaintiff-Appellees;

      300. Richmond County Board of Elections, Defendant;

      301. Ringer, Cheryl, Counsel for Defendant;

      302. Rise, Inc., Plaintiff-Appellee;

      303. Rodriguez, Anthony, Defendant;

      304. Rosborough, Davin, Counsel for Plaintiff-Appellees;

      305. Rosenberg, Ezra, Counsel for Plaintiff-Appellees;

      306. Rosenberg, Steven, Counsel for Defendant;

      307. Russ, John, Counsel for Plaintiff-Appellees;

      308. Ruth, Kathleen, Defendant;

      309. Ryan, Elizabeth, Counsel for Plaintiff-Appellees;


                                    C17 of 23
USCA11 Case: 23-13085    Document: 130-2     Date Filed: 07/08/2024   Page: 19 of 47
                                                    In re: Georgia Senate Bill 202
                                                               Case No. 23-13085

      310. Sabzevari, Arash, Counsel for Defendant;

      311. Sachdeva, Niharika, Counsel for Plaintiff-Appellees;

      312. Schaerr, Gene C., Counsel for State Defendant-Appellants;

      313. Schaerr Jaffe, LLP, Counsel for State Defendant-Appellants;

      314. Scott, William, Counsel for Defendant;

      315. Seals, Veronica, Defendant;

      316. Segarra, Esperanza, Counsel for Plaintiff-Appellees;

      317. Sells, Bryan, Counsel for Plaintiff-Appellees;

      318. Shah, Niyati, Counsel for Plaintiff-Appellees;

      319. Sheats, Gala, Defendant;

      320. Shelly, Jacob, Counsel for Plaintiff-Appellees;

      321. Shirley, Adam, Defendant;

      322. Sieff, Adam, Counsel for Plaintiff-Appellees;

      323. Silas, Tori, Defendant;

      324. Sixth District of the African Methodist Episcopal Church,

            Plaintiff-Appellee;

      325. Smith, Casey, Counsel for Plaintiff-Appellees;

      326. Smith, Dele, Defendant;

      327. Smith, Mandi, Defendant;

      328. Solh, Chavira, Counsel for Plaintiff-Appellees;


                                     C18 of 23
USCA11 Case: 23-13085     Document: 130-2   Date Filed: 07/08/2024   Page: 20 of 47
                                                   In re: Georgia Senate Bill 202
                                                              Case No. 23-13085

      329. Solomon, Elbert, Plaintiff-Appellee;

      330. Sosebee, Charlotte, Defendant;

      331. Southern Poverty Law Center, Counsel for Plaintiff-Appellees;

      332. Sowell, Gregory, Counsel for Defendant;

      333. Spangler, Herbert, Former Defendant;

      334. Sparks, Adam, Counsel for Plaintiff-Appellees;

      335. Squiers, Cristina, Counsel for State Defendant-Appellants;

      336. State of Georgia, State Defendant;

      337. Stewart Melvin & Frost, LLP, Counsel for Defendant;

      338. Strawbridge, Patrick, Counsel for Intervenor-Defendants;

      339. Sumner, Stuart, Counsel for Intervenor-Defendants;

      340. Sullivan, Rebecca N., Former Defendant;

      341. Sung, Connie, Counsel for Plaintiff-Appellees;

      342. Swift, Karli, Defendant;

      343. Szilagyi, Heather, Counsel for Plaintiff-Appellees;

      344. Tatum, Tobias, Counsel for State Defendant-Appellants;

      345. Taylor English Duma LLP, Counsel for State Defendant-

            Appellants;

      346. Taylor, Wandy, Defendant;

      347. Thatte, Anuja, Counsel for Plaintiff-Appellees;


                                   C19 of 23
USCA11 Case: 23-13085     Document: 130-2     Date Filed: 07/08/2024   Page: 21 of 47
                                                      In re: Georgia Senate Bill 202
                                                                 Case No. 23-13085

      348. The ACLU Foundation Disability Rights Program, Counsel for

            Plaintiff-Appellees;

      349. The Arc of the United States, Plaintiff-Appellee;

      350. The Concerned Black Clergy of Metropolitan Atlanta, Inc.,

            Plaintiff-Appellee;

      351. The Georgia State Election Board, State Defendant-Appellant;

      352. The Justice Initiative, Inc., Plaintiff-Appellee;

      353. The New Georgia Project, Plaintiff-Appellee;

      354. The Republican National Committee, Intervenor-Defendant;

      355. The Urban League of Greater Atlanta, Inc., Plaintiff-Appellee;

      356. Thomas, Ethan, Counsel for Plaintiff-Appellees;

      357. Thompson, Grace, Counsel for Plaintiff-Appellees;

      358. Till, Ann, Defendant;

      359. Topaz, Jonathan, Counsel for Plaintiff-Appellees;

      360. Trent, Edward, Counsel for State Defendant-Appellants;

      361. Tucker, William, Counsel for Plaintiff-Appellees;

      362. Tyson, Bryan, Counsel for State Defendant-Appellants;

      363. Uddullah, Angelina, Plaintiff-Appellee;

      364. Unger, Jess, Counsel for Plaintiff-Appellees;




                                     C20 of 23
USCA11 Case: 23-13085    Document: 130-2    Date Filed: 07/08/2024   Page: 22 of 47
                                                    In re: Georgia Senate Bill 202
                                                               Case No. 23-13085

      365. United States Department of Justice, Counsel for Plaintiff-

            Appellees;

      366. United States of America, Plaintiff-Appellee;

      367. Van Stephens, Michael, Counsel for Defendant;

      368. Vander Els, Irene, Counsel for Defendant;

      369. Varghese, George, Counsel for Plaintiff-Appellees;

      370. Varner, Johnny, Defendant;

      371. Vasquez, Jorge, Counsel for Plaintiff-Appellees;

      372. Vaughan, Elizabeth, Counsel for State Defendant-Appellants;

      373. Waite, Tristen, Counsel for Defendant;

      374. Wang, Emily, Counsel for Plaintiff-Appellees;

      375. Ward-Packard, Samuel, Counsel for Plaintiff-Appellees;

      376. Wardenski, Joseph, Counsel for Plaintiff-Appellees;

      377. Watson, Jeanetta R., Former Defendant;

      378. Webb, Brian K., Counsel for State Defendant-Appellants;

      379. Weber, Gerald, Counsel for Plaintiff-Appellees;

      380. Weigel, Daniel, Counsel for State Defendant-Appellants;

      381. Wesley, Carol, Defendant;

      382. White, Daniel, Counsel for Defendant;

      383. White, William, Counsel for Intervenor-Defendants;


                                   C21 of 23
USCA11 Case: 23-13085    Document: 130-2     Date Filed: 07/08/2024   Page: 23 of 47
                                                    In re: Georgia Senate Bill 202
                                                               Case No. 23-13085

      384. Wiggins, Larry, Defendant;

      385. Wilberforce, Nana, Counsel for Plaintiff-Appellees;

      386. Wilborn, Eric, Counsel for Defendant;

      387. Willard, Russell D., Counsel for State Defendant-Appellants;

      388. Williams, Gilda, Counsel for Plaintiff-Appellees;

      389. Williams, Tuwanda, Counsel for Defendant;

      390. Wilmer Cutler Pickering Hale and Dorr LLP, Counsel for

            Plaintiff-Appellees;

      391. Wilson, Jacob C., Counsel for Defendants;

      392. Wilson, Melanie, Counsel for Defendant;

      393. Wingate, Mark, Defendant;

      394. Winichakul, Pichaya, Counsel for Plaintiff-Appellees;

      395. Women Watch Afrika, Plaintiff-Appellee;

      396. Woodfin, Conor, Counsel for Intervenor-Defendants;

      397. Woolard, Cathy, Defendant;

      398. Worley, David J., Former Defendant;

      399. Wurtz, Lori, Defendant;

      400. Yoon, Meredyth, Counsel for Plaintiff-Appellees;

      401. Young, Sean, Counsel for Plaintiff-Appellees; and

      402. Zatz, Clifford, Counsel for Plaintiff-Appellees.


                                    C22 of 23
USCA11 Case: 23-13085     Document: 130-2    Date Filed: 07/08/2024   Page: 24 of 47
                                                    In re: Georgia Senate Bill 202
                                                               Case No. 23-13085

      Pursuant to Federal Rule of Appellate Procedure 26.1 and Eleventh

Circuit Rule 26.1, the Honest Elections Project does not have a parent

corporation or a corporation that owns 10% or more of its stock.


                                                /s/ Jason Brett Torchinsky
                                                JASON BRETT TORCHINSKY




                                    C23 of 23
USCA11 Case: 23-13085                Document: 130-2            Date Filed: 07/08/2024             Page: 25 of 47



                                          TABLE OF CONTENTS

CERTIFICATE OF INTERESTED PERSONS & CORPORATE
DISCLOSURE STATEMENT .......................................................... C-1 of 23
TABLE OF CONTENTS ................................................................................. i
TABLE OF CITATIONS ............................................................................... ii
INTEREST & IDENTITY OF AMICUS CURIAE ....................................... 1
STATEMENT OF THE ISSUES.................................................................... 2
INTRODUCTION & SUMMARY OF THE ARGUMENT .......................... 3
ARGUMENT .................................................................................................. 5
    I.       THE MATERIALITY PROVISION MUST HAVE SOME
             NEXUS TO RACE, OTHERWISE IT RAISES SERIOUS
             CONSTITUTIONAL CONCERNS. ............................................... 5
    II.      THE BIRTHDATE REQUIREMENT IS MATERIAL. .............. 13
CONCLUSION ............................................................................................. 16
CERTIFICATE OF COMPLIANCE ............................................................ 18
CERTIFICATE OF SERVICE ..................................................................... 19




                                                          i
USCA11 Case: 23-13085               Document: 130-2             Date Filed: 07/08/2024            Page: 26 of 47



                                          TABLE OF CITATIONS

Cases                                                                                                     Page(s)

Allen v. Cooper,
   140 S. Ct. 994 (2020) .......................................................................................... 9
Broyles v. Texas,
  618 F. Supp. 2d 661 (S.D. Tex. 2009) ................................................................ 6
Burdick v. Takushi,
  504 U.S. 428 (1992) .......................................................................................... 13
City of Boerne v. Flores,
   521 U.S. 507 (1997) .................................................................................. 8, 9, 11
Diaz v. Cobb,
  541 F. Supp. 2d 1319 (S.D. Fla. 2008) .............................................................. 14
Eu v. S.F. Cnty. Democratic Cent. Comm.,
  489 U.S. 214 (1989) .................................................................................... 13-14
Florida Prepaid Postsecondary Educ. Expense Bd. v. College Sav. Bank,
   527 U.S. 627 (1999) .................................................................................... 11-12
Griffin v. Roupas,
  385 F.3d 1128 (7th Cir. 2004) ........................................................................... 14
Hooper v. Cal.,
  155 U.S. 648 (1895) .......................................................................................... 12
Indiana Democratic Party v. Rokita,
   458 F. Supp. 2d 775 (S.D. Ind. 2006) ............................................................. 6-7
Mobile v. Bolden,
  446 U.S. 55 (1980) .............................................................................................. 6
Nader v. Keith,
  385 F.3d 729 (7th Cir. 2004) ............................................................................. 14
Nw. Austin Mun. Util. Dist. No. One v. Holder,
  557 U.S. 193 (2009) ........................................................................................ 8, 9
Reno v. Bossier Par. Sch. Bd.,
  520 U.S. 471 (1997) ............................................................................................ 7


                                                         ii
USCA11 Case: 23-13085                 Document: 130-2             Date Filed: 07/08/2024             Page: 27 of 47



Shelby Cnty. v. Holder,
  570 U.S. 529 (2013) .............................................................................. 6, 8, 9, 11
Shelby Cnty. v. Holder,
  679 F.3d 848 (D.C. Cir. 2012) ............................................................................ 9
Shelby Cnty. v. Holder,
  811 F. Supp. 2d 424 (D.D.C. 2011) .................................................................... 9
Storer v. Brown,
   415 U.S. 724 (1974) ............................................................................................ 1
Tennessee v. Lane,
  541 U.S. 509 (2004) ............................................................................................ 9
Tex. Democratic Party v. Abbott,
  978 F.3d 168 (5th Cir. 2020) ............................................................................. 10
United States v. Davis,
  588 U.S. 445 (2019) .......................................................................................... 12
United States v. Georgia,
  546 U.S. 151 (2006) ............................................................................................ 7
United States v. Mississippi,
  380 U.S. 128 (1965) ............................................................................................ 6

Statutes
52 U.S.C. § 10101 ................................................................................................ 2, 3

Rules
11th Cir. R. 26.1 ................................................................................................. 1, 23
Fed. R. App. P. 26.1 ........................................................................................... 1, 23
Fed. R. App. P. 27(d) ............................................................................................. 18
Fed. R. App. P. 29(a)(3) ........................................................................................... 1
Fed. R. App. P. 29(a)(4)(E) ...................................................................................... 1
Fed. R. App. P. 32(f) .............................................................................................. 18




                                                          iii
USCA11 Case: 23-13085                Document: 130-2             Date Filed: 07/08/2024              Page: 28 of 47



Constitutional Provisions
U.S. CONST. amend. XV ...................................................................................... 4, 7
U.S. CONST. art. I, § 4 .......................................................................................... 5, 6
U.S. CONST. art. I, § 8 .............................................................................................. 7

Other
H.R. Rep. No. 88-914, title I (1963),
  reprinted in 1964 U.S.C.C.A.N. 2391, 2491. .................................................... 10
FEDERALIST No. 59. .................................................................................................. 8
John C. Fortier & Norman J. Ornstein, Symposium: The Absentee Ballot
   and the Secret Ballot: Challenges for Election Reform,
   36 U. Mich. J.L. & Reform (2003). ................................................................... 14
John Harwood, Early Voting Begins in Presidential Battlegrounds: In Iowa,
   ‘Ballot Chasers’ Seek Decisions and an Edge Weeks Before Election Day,
    Sept. 27, 2004, p. A1. ................................................................................. 14, 15
Michael Moss, Absentee Votes Worry Officials as No. 2 Nears,
   N.Y. Times (late ed.), Sept. 13, 2004, p. A1. ................................................... 14
R.W. Apple Jr., Kerry Pins Hopes in Iowa on Big Vote From Absentees,
   N.Y. Times (nat’l ed.), Sept. 28, 2004, p. 18.................................................... 14
Ron Lieber, Cast a Ballot From the Couch: Absentee Voting Gets Easier,
   Wall St. J., Sept. 2, 2004, p.D1 ......................................................................... 15
William T. McCauley, “Florida Absentee Voter Fraud,
   Fashioning an Appropriate Judicial Remedy,”
   54 U. Miami L. Rev. 625 (2000). ..................................................................... 14




                                                          iv
USCA11 Case: 23-13085       Document: 130-2    Date Filed: 07/08/2024    Page: 29 of 47



               INTEREST & IDENTITY OF AMICUS CURIAE 1

      The Honest Elections Project is a nonpartisan organization devoted to

supporting the right of every lawful voter to participate in free and honest elections.

Through public engagement, advocacy, and public-interest litigation, the Project

defends the fair, reasonable measures that voters put in place to protect the integrity

of the voting process. The Project supports common-sense voting rules and opposes

efforts to reshape elections for partisan gain. As the Supreme Court has explained,

“there must be a substantial regulation of elections if they are to be fair and honest

and if some sort of order, rather than chaos, is to accompany the democratic

processes.” Storer v. Brown, 415 U.S. 724, 730 (1974). The Project thus has a

significant interest in this important case.




      1
         In accordance with Federal Rule of Appellate Procedure 29(a)(4)(E),
Amicus Curiae certifies that no party’s counsel authored this brief in whole or in
part; and no party, party’s counsel, or other person—other than the Amicus Curiae,
its members, or its counsel—contributed money intended to fund preparing or
submitting the brief. Amicus Curiae has also moved for leave of court to file this
brief, in accordance with Federal Rule of Appellate Procedure 29(a)(3). All parties
have consented to the filing of this brief, except for the New Georgia Project, which
informed the undersigned that it takes no position on Amicus Curiae’s request for
consent to file this amicus brief.


                                           1
USCA11 Case: 23-13085      Document: 130-2     Date Filed: 07/08/2024   Page: 30 of 47



                         STATEMENT OF THE ISSUES

      1.     Can the Materiality Provision of the Civil Rights Act of 1964 apply to

a State absentee-ballot-application requirement that is facially race neutral and was

not enacted with the intent to discriminate on the basis of race?

      2.     Is requiring a date of birth on absentee-ballot applications a “material”

regulation of the vote-by-mail process, as the term “material” is construed for

purposes of the Civil Rights Act of 1964, 52 U.S.C. §§ 10101 et seq.?




                                          2
USCA11 Case: 23-13085       Document: 130-2     Date Filed: 07/08/2024     Page: 31 of 47



           INTRODUCTION & SUMMARY OF THE ARGUMENT

      This case involves an effort to reinvent the federal Civil Rights Act to strike

down neutral state voting laws that have nothing to do with racial discrimination.

Courts have consistently rebuffed similar efforts. This Court should follow suit.

      To administer accessible and secure elections, the Georgia legislature passed

Senate Bill 202 (“SB 202”), which was signed into law by Governor Brian Kemp on

March 25, 2021. SB 202 requires, among other things, that an applicant provide his

or her date of birth on an absentee-ballot-application form (the “Birthdate

Requirement”). The Plaintiffs have challenged this requirement (among several

other provisions of SB 202).

      Specifically, the Plaintiffs contend that the Birthdate Requirement violates the

Materiality Provision of the Civil Rights Act of 1964, which forbids any person

“acting under color of law” from denying “the right of any individual to vote in any

election because of an error or omission on any record or paper relating to any

application, registration, or other act requisite to voting, if such error or omission is

not material in determining whether such individual is qualified . . . to vote.” 52

U.S.C. § 10101(a)(2)(B). The district court agreed with the Plaintiffs, but in so




                                           3
USCA11 Case: 23-13085      Document: 130-2     Date Filed: 07/08/2024    Page: 32 of 47



doing, it distorted the Materiality Provision far beyond what Congress was

authorized to enact. This constitutional error commands reversal.

      Congress enacted the Materiality Provision under the auspices of the Fifteenth

Amendment, which prohibits intentional discrimination in voting based on race. U.S.

CONST. amend. XV. By construing the Materiality Provision to cover a provision of

state law that has no conceivable relation to race discrimination, the district court

unmoored the Materiality Provision from its constitutional dock. And because this

Court has an obligation to avoid interpreting the Materiality Provision in a way that

would raise grave constitutional concerns, it should reverse the district court’s grant

of a preliminary injunction.

      In any event, the Birthdate Requirement is indeed material. Vote-by-mail

offers a tradeoff: allowing voters to cast their ballots from anywhere increases

convenience, but it also comes with an increased risk of voter fraud. Georgia

weighed these countervailing interests and reasonably concluded that it would allow

absentee voting for all Georgia voters while implementing common-sense, simple

voter-security regulations to ensure convenient, free, and fair elections in Georgia.

And requiring a date of birth with an absentee-ballot-application form helps Georgia

election officials determine whether a person casting a ballot is the same person who




                                          4
USCA11 Case: 23-13085      Document: 130-2      Date Filed: 07/08/2024    Page: 33 of 47



registered to vote. The Court should avoid substituting its judgment for that of the

political branches in Georgia tasked with administering elections.

                                    ARGUMENT

I.    THE MATERIALITY PROVISION MUST HAVE SOME NEXUS TO RACE,
      OTHERWISE IT RAISES SERIOUS CONSTITUTIONAL CONCERNS.

      The district court’s interpretation of the Materiality Provision is divorced from

the authority under which it was enacted. The power to regulate state elections rests

generally in the hands of state legislatures. U.S. CONST. art. I, § 4, cl. 1. The

Materiality Provision, a federal law that applies to state elections, is an express

product of Congress’s efforts to counteract race discrimination in voting. Because

its authority to do so is rooted in the Fifteenth Amendment, and because the Fifteenth

Amendment was ratified to prevent intentional race discrimination in voting, it

follows that the Materiality Provision must, at a minimum, apply to state electoral

requirements that have some nexus to race.

      This nexus, however, is nowhere to be found in the district court’s

preliminary-injunction order. See generally No. 1:21-cv-555555, ECF No. 613

(Aug. 18, 2023). At no point does the district court conclude that requiring an

individual’s date of birth is overtly racially discriminatory, or that is has a racially

discriminatory impact. Rightfully so. And that should be the end of the analysis.

Because the Plaintiffs’ challenge to the Birthdate Requirement has nothing to do

with race, it is not actionable under the Materiality Provision. The district court’s



                                           5
USCA11 Case: 23-13085       Document: 130-2     Date Filed: 07/08/2024     Page: 34 of 47



contrary conclusion, if allowed to stand, raises serious constitutional concerns that

this Court has an obligation to avoid.

       “[T]he Framers of the Constitution intended the States to keep for themselves,

as provided in the Tenth Amendment, the power to regulate elections.” Shelby Cnty

v. Holder, 570 U.S. 529, 543 (2013) (quoting Gregory v. Ashcroft, 501 U.S. 452,

461–62 (1991)). Though Congress can regulate some federal elections, U.S. CONST.

art. I, § 4; but see id. art. I, § 2, cl. 1, it lacks general authority to regulate state

elections. Thus, the Materiality Provision “was passed by Congress under the

authority of the Fifteenth Amendment” to enforce its protection of “the right to vote

regardless of race.” United States v. Mississippi, 380 U.S. 128, 138 (1965)

(emphasis added). And under Supreme Court precedent, “racially discriminatory

motivation is a necessary ingredient of a Fifteenth Amendment violation.” City of

Mobile v. Bolden, 446 U.S. 55, 62 (1980) (plurality opinion).

      Accordingly, courts around the Country have “held that only racially

motivated deprivations of rights are actionable under” the Materiality Provision.

Broyles v. Texas, 618 F. Supp. 2d 661, 697 (SD Tex. 2009) (citing Kirksey v. City of

Jackson, 663 F.2d 659, 664–65 (5th Cir. 1981)), aff’d, 381 F. App’x 370 (5th Cir.

2010). They agree that the Materiality Provision cannot “be applied outside the

context of racial discrimination.” Ind. Democratic Party v. Rokita, 458 F. Supp. 2d




                                           6
USCA11 Case: 23-13085       Document: 130-2     Date Filed: 07/08/2024    Page: 35 of 47



775, 839 (S.D. Ind. 2006), aff’d sub nom. Crawford v. Marion Cnty. Election Bd.,

472 F.3d 949 (7th Cir. 2007), aff’d, 553 U.S. 181 (2008).

      The district court, however, departed from this constitutionally grounded

approach. Instead, it agreed with the Plaintiffs that the Birthdate Requirement

violates the Materiality Provision without ever addressing whether the Birthdate

Requirement had any nexus to the Amendment that provided it with authority to

enact the Civil Rights Act of 1964. This was error.

      Because “the Constitution requires a showing of” intentional discrimination

that the district court’s statutory construction does not, a violation of the Materiality

Provision on that theory is not “a fortiori a violation of the Constitution.” Reno v.

Bossier Par. Sch. Bd., 520 U.S. 471, 482 (1997). To be certain, the Fifteenth

Amendment only permits Congress to “enforce” its substantive provisions “by

appropriate legislation.” U.S. CONST. amend. XV, § 2. Congress may enforce the

Fifteenth Amendment by creating “remedies . . . for actual violations.” United States

v. Georgia, 546 U.S. 151, 158 (2006) (emphasis omitted). It does not, however, have

general police power to regulate state elections without a nexus to its Fifteenth

Amendment authority.

      Thus, the Fifteenth Amendment cannot provide a basis for the Materiality

Provision to the extent that the statute is applied to race-neutral requirements. Absent

other authority, the Materiality Provision would be unconstitutional. See U.S.



                                           7
USCA11 Case: 23-13085       Document: 130-2     Date Filed: 07/08/2024    Page: 36 of 47



CONST. art. I, § 8; id. amend. X. “States have broad powers to determine the

conditions under which the right of suffrage may be exercised,” and “each State has

the power to prescribe . . . the manner in which [its officers] shall be chosen.” Shelby

Cnty, 570 U.S. at 543 (cleaned up) (quoting Carry v. Rash, 380 U.S. 89, 91 *1965)

and Boyd v. Nebraska el rel. Thayer, 143 U.S. 135, 161 (1892)). Alexander Hamilton

emphasized the point: “Suppose an article had been introduced into the Constitution,

empowering the United States to regulate the elections for the particular States,

would any man have hesitated to condemn it . . . as a premeditated engine for the

destruction of the State governments?” FEDERALIST No. 59, at 453 (Sweetwater

Press ed., 2010). “State autonomy with respect to the machinery of self-government

defines the States as sovereign entities rather than mere provincial outposts subject

to every dictate of a central governing authority.” Northwestern Austin Mun. Util.

Dist. No. One v. Holder, 557 U.S. 193, 217 (2009) (Thomas, J., concurring in

judgment in part and dissenting in part) (hereinafter “NAMUDNO”).

      Although the Supreme Court has held that “[l]egislation which deters or

remedies constitutional violations can fall within the sweep of Congress’

enforcement power even if in the process it prohibits conduct which is not itself

unconstitutional,” City of Boerne v. Flores, 521 U.S. 507, 518 (1997), that leeway

does not bolster the district court’s preliminary-injunction order. As an initial matter,

this “congruence and proportionality test” does indeed cabin Congress’s power



                                           8
USCA11 Case: 23-13085      Document: 130-2     Date Filed: 07/08/2024   Page: 37 of 47



under the Fifteenth Amendment (even though some have argued that it applies only

to Congress’s Fourteenth Amendment enforcement authority). Given the textual

identity between the two amendments’ enforcement mechanisms, that theory lacks

any foundation. The Supreme Court’s decisions in Shelby County and NAMUDNO

reinforce the point, for they addressed “the very questions one would ask to

determine whether [a statute] is congruent and proportional,” even though the statute

there was founded on the Fifteenth Amendment. Shelby Cnty v. Holder, 679 F.3d

848, 859 (D.C. Cir. 2012) (cleaned up); see also id. at 885 (Williams, J., dissenting,

but agreeing on this point); accord Shelby Cnty v. Holder, 811 F. Supp. 2d 424, 449

(D.D.C. 2011); NAMUDNO, 557 U.S. at 224–26 (Thomas, J., concurring in

judgment in part and dissenting in part); Shelby Cnty, 570 U.S. at 542 n.1.2

      Thus, to justify a statute under Congress’s Fourteenth and Fifteenth

Amendment authority, the Supreme Court has required “congruence and

proportionality between the injury to be prevented or remedied and the means

adopted to that end.” Allen v. Cooper, 140 S. Ct. 994, 1004 (2020) (quoting Boerne,

521 U.S. at 520). “On the one hand, courts are to consider the constitutional problem

Congress faced—both the nature and the extent of state conduct violating the


      2
         Of course, the congruence-and-proportionality test may well be suspect,
since it allows Congress to go beyond remedying actual constitutional violations,
which, as noted, require a finding of discriminatory intent. See Tennessee v. Lane,
541 U.S. 509, 555–60 (2004) (Scalia, J., dissenting).



                                          9
USCA11 Case: 23-13085      Document: 130-2     Date Filed: 07/08/2024    Page: 38 of 47



[Constitution]. That assessment usually . . . focuses on the legislative record.” Id.

“On the other hand, courts are to examine the scope of the response Congress chose

to address that injury.” Id. In applying these tests, “a statute’s current burdens must

be justified by current needs.” Shelby County, 570 U.S. at 550 (cleaned up).

      The district court’s construction of the Materiality Provision flunks this

means-end test. There is no record evidence whatsoever that Georgia adopted SB

202 (which on its face is entirely race neutral) to discriminate based on race. Thus,

the Materiality Provision cannot be used to challenge the Birthdate Requirement.

      As a threshold matter, Congress has never identified any constitutional

problem with voter-registration (much less absentee-application) laws themselves.

Contrast that void with the observation in the Materiality Provision’s legislative

history that “registrars w[ould] overlook minor misspelling errors or mistakes in age

or length of residence of white applicants, while rejecting a Negro application for

the same or more trivial reasons.” H.R. Rep. No. 88-914, title I (Nov. 20, 1963),

reprinted in 1964 U.S.C.C.A.N. 2391, 2491. It noted that “the crux of the problem”

“c[a]me not from discriminatory laws,” but “from the discriminatory application and

administration of apparently nondiscriminatory laws.” Id. (cleaned up). “[F]or th[at]

reason,” Congress passed the Materiality Provision. Id. Yet this case, like other




                                          10
USCA11 Case: 23-13085      Document: 130-2      Date Filed: 07/08/2024    Page: 39 of 47



recent challenges that invoke the Materiality Provision, attacks a neutral state law—

not discriminatory administration by a voting official.

      Indeed, Congress was not focused on absentee rules at all when it enacted the

Materiality Provision. Absentee voting was rarely used before the 1970s and did not

become prominent until recent years. See Tex. Democratic Party v. Abbott, 978 F.3d

168, 188 (5th Cir. 2020) (“[T]he right to vote in 1971 did not include a right to vote

by mail. In-person voting was the rule, absentee voting the exception.”); see also

Voting by mail and absentee voting, MIT Election Data & Science Lab (Mar. 16,

2021), https://perma.cc/YY6H-9YB8. The notion that there exist any legislative

findings that would tie the Materiality Provision to the sort of requirements that exist

in SB 202 is farcical.

      In any event, the Birthdate Requirement is plainly intended to prevent voter

fraud by easing the burden of identification thrust on election officials—not to

disenfranchise anyone based on his or her race. State attempts to combat fraud (while

expanding opportunities to vote more broadly) have nothing to do with racial

discrimination. Congress never pointed to any history of “pervasive,” “flagrant,”

“widespread,” or “rampant” discrimination in absentee voting rules. Shelby Cnty,

570 U.S. at 554 (quoting South Carolina v. Katzenbach, 383 U.S. 301, 308, 315, 331

(1966)). And certainly, Congress has not pointed to “current conditions” of such

discrimination. Id. at 550. Georgia has attempted to expand access to the ballots by



                                          11
USCA11 Case: 23-13085       Document: 130-2      Date Filed: 07/08/2024    Page: 40 of 47



allowing all Georgia voters to vote absentee by mail. It is profoundly reasonable that

the State would simultaneously attempt to limit potential fraud in the process. And

requiring an applicant to write their birth date is not a high bar.

      Next, consider the Materiality Provision’s means. This Court has looked to

limitations like “termination dates, geographic restrictions, [and] egregious

predicates” “to ensure Congress’ means are proportionate to ends legitimate.” City

of Boerne, 521 U.S. at 533. As interpreted by the district court, the Materiality

Provision’s “indiscriminate scope offends th[ese] principle[s].” Florida Prepaid

Postsecondary Educ. Expense Bd. v. College Sav. Bank, 527 U.S. 627, 647 (1999).

But it remains true that the Birthdate Requirement has no relation at all to intentional

race discrimination.

      In sum, the Materiality Provision is unconstitutional if the district court’s

interpretation is correct. “It is an elementary principle of statutory interpretation that

an ambiguous statute must be interpreted, whenever possible, to avoid

unconstitutionality.” Davis, 588 U.S. at 493–94 (Kavanaugh, J., dissenting). This is

not “a case of avoiding possible unconstitutionality. This is a case of avoiding actual

unconstitutionality.” Id. at 2351. Thus, “every reasonable construction must be

resorted to in order to save [the Materiality Provision] from unconstitutionality.”

Hooper v. California, 155 U.S. 648, 657 (1895). “This Court’s longstanding practice

of saving ambiguous statutes from unconstitutionality where fairly possible affords



                                           12
USCA11 Case: 23-13085      Document: 130-2      Date Filed: 07/08/2024    Page: 41 of 47



proper respect for the representative branches of our Government.” Davis, 588 U.S.

at 493–94 (Kavanaugh, J., dissenting).

      Leaving the district court’s unconstitutional interpretation on the books would

perpetuate an unlawful scheme. This would, in turn, disregard Congress’s goals and

prerogatives. See id. (“[A] presumption never ought to be indulged, that congress

meant to exercise or usurp any unconstitutional authority, unless that conclusion is

forced upon the Court by language altogether unambiguous.” (quoting United States

v. Coombs, 37 U.S. 72 (1838))). And it impedes the States from ensuring the integrity

of their own election processes. This Court should reverse.

II.   THE BIRTHDATE REQUIREMENT IS MATERIAL.

      Should the Court allow the Plaintiffs to maintain this action (and for a whole

host of reasons discussed throughout this litigation, it should not), their claims still

fail as a matter of law. Simply put, Georgia’s Birthdate Requirement is material in

every sense of the word. The voter’s birthday is a simple way to verify the identity

of the voter. And the identity of the voter—and that the voter is who they claim to

be—is certainly material to their qualifications to vote.

      Unlimited and unregulated vote-by-mail systems breed chaos and confusion.

Simple checks to verify identity help alleviate that chaos. It is not too much to ask

absentee voters to comply with basic, straightforward, readily discernible

requirements to have their vote-by-mail ballot counted. And asking the Court to




                                          13
USCA11 Case: 23-13085      Document: 130-2      Date Filed: 07/08/2024    Page: 42 of 47



dispense with such requirements and count their ballots anyway is how issues

regarding fraud, confidence, and orderly administration metastasize.

      “[T]he right to vote is the right to participate in an electoral process that is

necessarily structured to maintain the integrity of the democratic system.” Burdick

v. Takushi, 504 U.S. 428, 441 (1992). The public’s interest in the maintenance, order,

and integrity of elections is compelling. See, e.g., Eu v. San Francisco Cnty.

Democratic Cent. Comm., 489 U.S. 214, 231 (1989); see also Diaz v. Cobb, 541

F. Supp. 2d 1319, 1335 (S.D. Fla. 2008). Scores of caselaw stand for this universally

accepted principle.

      Vote-by-mail options involve a tradeoff; as ballot-casting convenience

expands, regulation must counterbalance the increased risk of fraud. The most

fundamental concern with absentee voting is, of course, the risk that someone other

than the registered voter might submit the registered voter’s ballot. Indeed, in Griffin

v. Roupas, Judge Posner recounted the many issues that can accompany unlimited

absentee voting. In his view, “[v]oting fraud is a serious problem in U.S. elections

generally . . . and it is facilitated by absentee voting.” Griffin, 385 F.3d at 1128,

1130–31 (7th Cir. 2004) (citing John C. Fortier & Norman J. Ornstein, Symposium:

The Absentee Ballot and the Secret Ballot: Challenges for Election Reform, 36 U.

MICH. J.L. & REFORM (2003); William T. McCauley, “Florida Absentee Voter

Fraud: Fashioning an APPROPRIATE JUDICIAL REMEDY,” 54 U. MIAMI L. REV. 625,



                                          14
USCA11 Case: 23-13085       Document: 130-2     Date Filed: 07/08/2024    Page: 43 of 47



631–32 (2000); Michael Moss, Absentee Votes Worry Officials as Nov. 2 Nears,

N.Y. TIMES (late ed.), Sept. 13, 2004, p. A1.). After comparing no-excuse absentee

voting to take-home exams, Judge Posner warned that “[a]bsentee voters . . . are

more prone to cast invalid ballots than voters who, being present at the polling place,

may be able to get assistance from the election judges if they have a problem with

the ballot.” Id. at 1131 (citing Nader v. Keith, 385 F.3d 729, 732-33 (7th Cir. 2004);

R.W. Apple Jr., Kerry Pins Hopes in Iowa on Big Vote From Absentees, N.Y. TIMES

(nat’l ed.), Sept. 28, 2004, p. A18; John Harwood, Early Voting Begins in

Presidential Battlegrounds: In Iowa, ‘Ballot Chasers’ Seek Decisions and an Edge

Weeks Before Election Day, Sept. 27, 2004, p. A1; Moss, supra; Ron Lieber, Cast a

Ballot From the Couch: Absentee Voting Gets Easier, WALL ST. J., Sept. 2, 2004, p.

D1.).

        The Birthdate Requirement is a commonsensical and simple rule to regulate

the expansion of absentee voting. It remains crucial that when an absentee ballot is

received, Georgia can make sure the vote cast was cast by the person who

purportedly mailed in the ballot. The Birthdate Requirement serves to verify the

identity of the voter while still permitting the convenience of absentee voting.

        Georgia has gone above and beyond to make voting as easy as possible by

allowing every Georgia voter to vote absentee. In return, requiring applicants to fill

out their date of birth on the application is a small ask to ensure the process is secure



                                           15
USCA11 Case: 23-13085      Document: 130-2      Date Filed: 07/08/2024    Page: 44 of 47



and the identity of the person casting the matches the identity of the registered voter.

Mistakes happen. But they happen more frequently, and with greater consequences

when common-sense, simple—yet crucial—regulations are carelessly dispensed

with. The Court need not, and should not, do so here by granting the Plaintiffs the

relief they seek.

      Vote-by-mail procedures, when adopted, must be accompanied by checks to

assure the integrity of elections. Compelling policy considerations thus weigh

heavily against permitting unsecured voting by mail in Georgia by dispensing with

easily satisfied safeguards. Through their challenge, the Plaintiffs have asked the

federal courts to cast aside the policy considerations weighed by Georgia, which ask

nothing more of absentee voters than writing their birthday on their application in

exchange for the ability to vote from anywhere. This Court should decline that

invitation.

                                   CONCLUSION

      For these reasons, the Court should reverse the district court’s grant of

preliminary injunction.




                                          16
USCA11 Case: 23-13085   Document: 130-2   Date Filed: 07/08/2024   Page: 45 of 47



Dated: July 8, 2024             Respectfully submitted,

                                /s/ Jason Brett Torchinsky
                                Jason Brett Torchinsky
                                Edward M. Wenger
                                Zachary D. Henson
                                HOLTZMAN VOGEL BARAN
                                TORCHINSKY & JOSEFIAK PLLC
                                2300 N Street NW,
                                Suite 643A
                                Washington, DC 20037
                                (202) 737-8808 (phone)
                                (540) 341-8809 (facsimile)
                                jtorchinsky@holtzmanvogel.com
                                emwenger@holtzmanvogel.com
                                zhenson@holtzmanvogel.com

                                Counsel for Amicus Curiae




                                    17
USCA11 Case: 23-13085      Document: 130-2   Date Filed: 07/08/2024   Page: 46 of 47


                        CERTIFICATE OF COMPLIANCE

      1. This document complies with the type-volume and word-count limits of

Federal Rule of Appellate Procedure 27(d) because, excluding the parts of the

document exempted by Federal Rule of Appellate Procedure 32(f), this document

contains 3,359 words.

      2. This document complies with the typeface and type-style requirements of

Federal Rule of Appellate Procedure 27(d) because this document has been prepared

in a proportionally spaced typeface using Microsoft Word in 14-point Times New

Roman font.

                                             /s/ Jason Brett Torchinsky
                                             JASON BRETT TORCHINSKY




                                      18
USCA11 Case: 23-13085         Document: 130-2   Date Filed: 07/08/2024   Page: 47 of 47


                        CERTIFICATE OF SERVICE

      I HEREBY CERTIFY that, on this 8th day July, 2024, a true copy of the

foregoing motion was filed electronically with the Clerk of Court using the Court’s

CM/ECF system, which will send by email a notice of docketing activity to the

registered Attorney Filers.


                                                /s/ Jason Brett Torchinsky
                                                JASON BRETT TORCHINSKY




                                         19
